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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

YELLOW CORPORATION., et al., 1                                   Case No. 23-11069 (CTG)

                              Debtors.                           (Jointly Administered)

                                                                 Objection Deadline: November 9, 2023, at 4:00 p.m. (ET)
                                                                 Hearing: November 13, 2023 at 10:00 a.m. (ET)


      OMNIBUS OBJECTION AND RESERVATION OF RIGHTS OF CREDITOR OLD
       REPUBLIC INSURANCE COMPANY TO MOTIONS FOR RELIEF FROM THE
          AUTOMATIC STAY TO THE EXTENT OF INSURANCE PROCEEDS

           Old Republic Insurance Company (“ORIC”) hereby files this omnibus objection (the

“Objection”) to the Motions for Relief from Stay (the “Motions”) filed by Jose Emilio Ronderos

[D.I. 877], Jacob Bazarov [D.I. 878] and Sopia Goodman [D.I. 879] (the “Movants”) and,

through their undersigned counsel, respectfully represent: 2

                                        PRELIMINARY STATEMENT

           1.       The Debtors’ insurance policies are fully fronting motor carrier’s indemnity

policies issued by ORIC where the retention is equal to the policy limits. ORIC has no duty to

defend under such policies. None of the Movants have shown a right to payment under those

policies. Therefore, the Motions should be denied at this time.

                                                  BACKGROUND

           2.       ORIC issued workers’ compensation policies (the “WC Policies”) and motor

carrier’s indemnity policies (the “Motor Carrier’s Indemnity Policies”) from March 1, 2004 –

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    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
    place of business and the Debtors’ service address is these chapter 11 cases is: 11500 Outlook Street, Suite 400
    Overland Park, Kansas 66211.
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    All capitalized terms used herein shall have the meaning as set forth in the Motion unless otherwise defined in this
    Objection.
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September 1, 2023, and excess liability insurance (the “Excess Policy”) from March 1, 2004 –

February 28, 2005 to certain of the Debtors 3 (the WC Policies, the Motor Carrier’s Indemnity

Policies and the Excess Policy, collectively referred to herein as the “Policies”).

           3.       Debtor Yellow Corporation and ORIC executed a Program Agreement relating to

the Policies (the “Program Agreement”, together with the Policies, the “Insurance Program” ).

The Program Agreement provides that the Debtors, all of the named insureds under the Policies,

and their affiliates are jointly and severally liable for all amounts owed to ORIC under the

Program Agreement or in connection with the Policies.

           4.       Under the Policies and the Program Agreement, the Debtors are obligated to pay

premiums. The Debtors are also obligated to reimburse ORIC for any payments ORIC makes on

claims up to the retention level for each occurrence, to the extent such payments occur under

fully fronting indemnity policies. Furthermore, under the Policies and the Program Agreement,

the Debtors may owe other amounts to ORIC arising from or in connection with the Policies, the

Program Agreement and any other agreements relating to the Policies. As security for the

Debtors’ obligations to it, prior to the filing, ORIC held four letters of credit totaling

$231,020,627 (the “Letters of Credit”). ORIC drew on the Letters of Credit post-petition and is

holding the proceeds of such draws, as reduced by liquidated amounts owed to it by the Debtors

(the “LOC Proceeds”).

                                                    OBJECTION

           5.       The Movants have sought relief from the automatic stay in order to prosecute

their claims against the Debtors in order to recover proceeds of the Debtors’ insurance. The

Motions seek stay relief on the false premises that: (i) the Debtors will not be prejudiced because

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    Any capitalized term the “Debtor” or “Debtors” refers to any Debtor that qualifies as a named insured or additional
    insured under the Policies.


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the Debtors have liability coverage for defense costs and any resulting judgments, and (ii)

because any recovery by the Movants will not affect or in any way prejudice the Debtors’

estates.

           6.     The Debtors maintained fully fronted indemnity-only Motor Carrier’s Indemnity

Policies.       The Motor Carrier’s Indemnity Policies contain three distinct features that

distinguishes them from typical auto liability insurance. First, ORIC has no duty to defend

lawsuits covered by the Policies. Second, for each of the policies, the Motor Carrier’s Indemnity

Policies’ limits of $6 million are equal to the Debtors’ retention of $6 million. Lastly, under the

policies, the retention reduces the applicable limits of coverage, thereby extinguishing the policy

limits once the Debtors’ pay the first $6 million of any losses under the Motor Carrier’s

Indemnity Policies. Since the policy limits under the Motor Carrier’s Indemnity Policies are

equal to the Debtors’ retention, all amounts up to the policy limits are the Debtors’

responsibility. Any amounts ORIC spends defending lawsuits, despite having no duty to defend,

or paying claims under the Motor Carrier’s Indemnity Policies will either: (i) reduce the LOC

Proceeds, and/or (iii) significantly increase the amount of ORIC’s unsecured claims against the

Estate.

           7.     The Motions do not meet their burden to provide sufficient facts about their

claims to demonstrate a right to payment under the fully fronted Motor Carrier’s Indemnity

Policies. While each of the Motor Carrier’s Indemnity Policies contain a Business Auto

Coverage Form/Policy, the form specifically denies any liability coverage. The insurance

policies also include an MCS-90 endorsement which creates a surety obligation for only those

claims that so qualify under 49 U.S.C. § 31139(b)(1) whereby the motor carrier named therein is

the principal, the claimant who obtains final judgment on a claim specified under the regulations



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and the MCS-90 is the obligee, and ORIC is the surety. The MCS-90 is not intended to be

primary insurance coverage but rather federally mandated protection for the public in the event

an interstate motor carrier does not have insurance coverage that responds to a qualifying

interstate motor vehicle accident.    Importantly, none of the Motions mention the MCS-90

endorsement and no claimant has shown any entitlement to recovery under it.

       8.      Under these facts, the automatic stay should not be lifted. The Motion rests upon

the flawed premise that the Debtors have “liability coverage for defense costs and any resulting

judgment.” However, it is clear that ORIC owes no duty to defend under the Debtors’ Motor

Carrier’s Indemnity Policies. If the Debtors fail to defend the Movants’ claims, ORIC might

have the right to deny coverage under the policies. In addition, the Movants have not shown any

colorable right to recovery under any of the Motor Carrier’s Indemnity Policies. Lifting the stay

to allow the Movants to attempt to recover insurance proceeds when they have demonstrated no

colorable right to payment from ORIC would not be in the best interests of the estate.

Importantly, granting the Motions would have a detrimental effect on unsecured creditors by: (i)

forcing the Debtors to incur defense costs defending the lawsuits, (ii) allowing the Movants to

obtain default judgments and substantially increasing the unsecured claims pool if the Debtors

choose not to defend, or (iii) forcing ORIC to defend the claims thereby increasing ORIC’s claim

against the Debtors and reducing the LOC Proceeds. These scenarios are not in the best interests

of creditors or the Debtors’ estates, so the stay should be maintained.

       9.      The benefit of the bankruptcy process is that it provides the debtor with a

breathing spell. As a liquidating case on a tight timeline, the Debtors’ will likely propose their

liquidating plan in the near future. That plan might provide a solution to handling the Movants’

claims that takes into account the nature of the Debtors’ Motor Carrier’s Indemnity Policies.



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Lifting the stay now could substantially decrease the amount available to pay claimants through

expensive litigation with no accompanying benefits. Therefore, the stay should be maintained to

provide the Debtors time to determine a value maximizing way to allow the claims to proceed to

resolution.

                                 RESERVATION OF RIGHTS

       10.     ORIC reserves its rights with respect to the applicability of the Motor Carrier’s

Indemnity Policies and any MCS-90 endorsement to any of the Movants’ claims.                   Any

description of the Motor Carrier’s Indemnity Policies and the MCS-90 endorsement is not

intended as a waiver of any term, provision, condition, definition, or exclusion which may now

or hereafter apply to coverage afforded under the Policy.

       11.     ORIC has issued or is in the process of issuing reservations of rights with respect

to the claims asserted in the Motions. Additionally, ORIC has requested information from the

Debtors about these claims to assist in ORIC’s evaluation and determination of coverage.

       12.     Nothing in this Objection is intended to be an admission of liability by ORIC

under, including, but not limited to the Motor Carrier’s Indemnity Policies, the MCS-90

endorsements, or any other document.

                                         CONCLUSION

       13.     Wherefore, for the foregoing reasons, ORIC respectfully requests that this Court

(a) sustain this Objection; and (b) grant ORIC such further relief it deems just and proper.




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Dated: November 9, 2023

                                   BIELLI & KLAUDER, LLC

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